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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


IN RE:

HUGH LAWRENCE BROOKS                                  BK Case No. 09-02012
TAMMIE SIMS-BROOKS
          Debtors.                                    Chapter 11


HUGH LAWRENCE BROOKS                                  Judge CARR
TAMMIE SIMS-BROOKS
          Plaintiffs,                                 Adversary Proceeding
                                                      Case No. 18-50350
vs.

CORONADO STUDENT LOAN TRUST

                Defendant.



NOTICE OF MOTION AND OPPORTUNITY TO OBJECT TO CORONADO STUDENT
  LOAN TRUST AS TO DEFENDANTS’, CORONADO STUDENT LOAN TRUST’S
              MOTION TO VACATE DEFAULT JUDGMENT


CORONADO STUDENT LOAN TRUST, defendant in the above –captioned case, has filed a
Motion to Vacate Default Judgment. If you have not received a copy of the motion, you may
get one by contacting the person who signed this notice or at the clerk’s office.



Your rights may be affected. You should read these papers carefully and discuss them with
your attorney. If you do not have an attorney, you may wish to consult one.

         If you do not want the Court to grant the motion, then within fourteen (14) days of the

date on the attached Certificate of Service:


1.       File a written objection to the motion, which should explain the reasons why you object,
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with the Clerk of the United States Bankruptcy Court at:


          Indianapolis Division
          116 U.S. Courthouse
          46 E. Ohio Street
          Indianapolis, IN 46204

If you mail your objection, you must mail it early enough so that it will be received by the date it
is due.

2.        You must also mail a copy of your objection to :

John Erin McCabe                    Hugh Lawrence Brooks               Eric C Redman
525 Vine Street, Suite 800          Tammie Sims-Brooks                 151 N Delaware St Ste 1106
Cincinnati, OH 45202                7547 Somerset Bay, #A              Indianapolis, IN 46204
                                    Indianapolis, IN 46240

If you do not file an objection by the date it is due, the court may grant the relief requested without
holding a hearing. If you do file an objection, the court will set the motion for hearing, which you
or your attorney will be expected to attend.




                                                                 Respectfully Submitted:
                                                                 /S/ John Erin McCabe
                                                                 John Erin McCabe
                                                                 525 Vine Street, Suite 800
                                                                 Cincinnati, OH 45202
                                                                 Telephone: 513-723-2206
                                                                 jmccabe@weltman.com
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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true copy of the foregoing Notice of Motion

and Opportunity to Object to Motion to Vacate Default Judgment was served this 19th day of

July, 2019 by regular U.S. Mail upon the following.

       Hugh Lawrence Brooks
       Tammie Sims-Brooks
       7547 Somerset Bay, #A
       Indianapolis, IN 46240
       Plaintiff



       Eric C Redman
       151 N Delaware St Ste 1106
       Indianapolis, IN 46204
       Counsel for Plaintiff


                                                      /S/ John Erin McCabe
                                                      John Erin McCabe
                                                      Weltman, Weinberg & Reis Co., L.P.A.
                                                      Attorney for Coronado Student Loan Trust
